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 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


  EVAN LAMBERT,                                 )
                                                )   CASE NO. 4:23CV2200
                     Plaintiff,                 )
                                                )
                     v.                         )   JUDGE BENITA Y. PEARSON
                                                )
  COLUMBIANA COUNTY, et al.,                    )
                                                )   JUDGMENT
                     Defendants.                )


        Plaintiff notified the Court that he has accepted Defendants Columbiana County and East

 Palestine’s Offer of Judgment pursuant to Federal Rule of Civil Procedure 68. ECF No. 13.

        Judgment is hereby entered in favor of Plaintiff Evan Lambert and against Defendants

 Columbiana County and City of East Palestine in the amount of $80,000 and reasonable attorney

 fees as agreed upon by the parties.

        This constitutes entry of judgment pursuant to Federal Rule of Civil Procedure 58.



        IT IS SO ORDERED.


  February 7, 2024                                      /s/ Benita Y. Pearson
  Date                                                 Benita Y. Pearson
                                                       United States District Judge
